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Fill in this information to identify your case:

United States Bankruptcy Court for the:

SOUTHERN DISTRICT OF NEW YORK

Case number (if known)                                                      Chapter      11
                                                                                                                              Check if this an
                                                                                                                              amended filing




Official Form 201
Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                                                          4/16
If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write the debtor's name and case number (if known).
For more information, a separate document, Instructions for Bankruptcy Forms for Non-Individuals, is available.


1.   Debtor's name                Global Brokerage, Inc.

2.   All other names debtor
     used in the last 8 years
     Include any assumed          FXCM, Inc.
     names, trade names and
     doing business as names

3.   Debtor's federal
     Employer Identification      XX-XXXXXXX
     Number (EIN)


4.   Debtor's address             Principal place of business                                    Mailing address, if different from principal place of
                                                                                                 business

                                  55 Water Street
                                  50th Floor
                                  New York, NY 10041
                                  Number, Street, City, State & ZIP Code                         P.O. Box, Number, Street, City, State & ZIP Code

                                  New York                                                       Location of principal assets, if different from principal
                                  County                                                         place of business

                                                                                                 Number, Street, City, State & ZIP Code


5.   Debtor's website (URL)


6.   Type of debtor                   Corporation (including Limited Liability Company (LLC) and Limited Liability Partnership (LLP))
                                      Partnership (excluding LLP)
                                      Other. Specify:




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Debtor    Global Brokerage, Inc.                                                                       Case number (if known)
          Name



7.   Describe debtor's business        A. Check one:
                                           Health Care Business (as defined in 11 U.S.C. § 101(27A))
                                           Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
                                           Railroad (as defined in 11 U.S.C. § 101(44))
                                           Stockbroker (as defined in 11 U.S.C. § 101(53A))
                                           Commodity Broker (as defined in 11 U.S.C. § 101(6))
                                           Clearing Bank (as defined in 11 U.S.C. § 781(3))
                                           None of the above

                                       B. Check all that apply
                                          Tax-exempt entity (as described in 26 U.S.C. §501)
                                           Investment company, including hedge fund or pooled investment vehicle (as defined in 15 U.S.C. §80a-3)
                                           Investment advisor (as defined in 15 U.S.C. §80b-2(a)(11))

                                       C. NAICS (North American Industry Classification System) 4-digit code that best describes debtor.
                                          See http://www.uscourts.gov/four-digit-national-association-naics-codes.
                                            523999

8.   Under which chapter of the        Check one:
     Bankruptcy Code is the
                                           Chapter 7
     debtor filing?
                                           Chapter 9
                                           Chapter 11. Check all that apply:
                                                                 Debtor's aggregate noncontingent liquidated debts (excluding debts owed to insiders or affiliates)
                                                                 are less than $2,566,050 (amount subject to adjustment on 4/01/19 and every 3 years after that).
                                                                 The debtor is a small business debtor as defined in 11 U.S.C. § 101(51D). If the debtor is a small
                                                                 business debtor, attach the most recent balance sheet, statement of operations, cash-flow
                                                                 statement, and federal income tax return or if all of these documents do not exist, follow the
                                                                 procedure in 11 U.S.C. § 1116(1)(B).
                                                                 A plan is being filed with this petition.
                                                                 Acceptances of the plan were solicited prepetition from one or more classes of creditors, in
                                                                 accordance with 11 U.S.C. § 1126(b).
                                                                 The debtor is required to file periodic reports (for example, 10K and 10Q) with the Securities and
                                                                 Exchange Commission according to § 13 or 15(d) of the Securities Exchange Act of 1934. File the
                                                                 attachment to Voluntary Petition for Non-Individuals Filing for Bankruptcy under Chapter 11
                                                                 (Official Form 201A) with this form.
                                                                 The debtor is a shell company as defined in the Securities Exchange Act of 1934 Rule 12b-2.
                                           Chapter 12



9.   Were prior bankruptcy                No.
     cases filed by or against
     the debtor within the last 8         Yes.
     years?
     If more than 2 cases, attach a
     separate list.                              District                                 When                                  Case number
                                                 District                                 When                                  Case number


10. Are any bankruptcy cases              No
    pending or being filed by a
    business partner or an                Yes.
    affiliate of the debtor?
     List all cases. If more than 1,
     attach a separate list                      Debtor                                                                     Relationship
                                                 District                                 When                              Case number, if known




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Debtor   Global Brokerage, Inc.                                                                    Case number (if known)
         Name




11. Why is the case filed in    Check all that apply:
    this district?
                                         Debtor has had its domicile, principal place of business, or principal assets in this district for 180 days immediately
                                         preceding the date of this petition or for a longer part of such 180 days than in any other district.
                                         A bankruptcy case concerning debtor's affiliate, general partner, or partnership is pending in this district.

12. Does the debtor own or          No
    have possession of any
    real property or personal       Yes. Answer below for each property that needs immediate attention. Attach additional sheets if needed.
    property that needs
    immediate attention?                     Why does the property need immediate attention? (Check all that apply.)
                                                It poses or is alleged to pose a threat of imminent and identifiable hazard to public health or safety.
                                               What is the hazard?
                                                It needs to be physically secured or protected from the weather.
                                                 It includes perishable goods or assets that could quickly deteriorate or lose value without attention (for example,
                                               livestock, seasonal goods, meat, dairy, produce, or securities-related assets or other options).
                                                Other
                                             Where is the property?
                                                                              Number, Street, City, State & ZIP Code
                                             Is the property insured?
                                                No
                                                Yes. Insurance agency
                                                        Contact name
                                                        Phone



         Statistical and administrative information

13. Debtor's estimation of      .         Check one:
    available funds
                                             Funds will be available for distribution to unsecured creditors.
                                             After any administrative expenses are paid, no funds will be available to unsecured creditors.

14. Estimated number of             1-49                                              1,000-5,000                                25,001-50,000
    creditors                       50-99                                             5001-10,000                                50,001-100,000
                                    100-199                                           10,001-25,000                              More than100,000
                                    200-999

15. Estimated Assets                $0 - $50,000                                      $1,000,001 - $10 million                   $500,000,001 - $1 billion
                                    $50,001 - $100,000                                $10,000,001 - $50 million                  $1,000,000,001 - $10 billion
                                    $100,001 - $500,000                               $50,000,001 - $100 million                 $10,000,000,001 - $50 billion
                                    $500,001 - $1 million                             $100,000,001 - $500 million                More than $50 billion

16. Estimated liabilities           $0 - $50,000                                      $1,000,001 - $10 million                   $500,000,001 - $1 billion
                                    $50,001 - $100,000                                $10,000,001 - $50 million                  $1,000,000,001 - $10 billion
                                    $100,001 - $500,000                               $50,000,001 - $100 million                 $10,000,000,001 - $50 billion
                                    $500,001 - $1 million                             $100,000,001 - $500 million                More than $50 billion




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Debtor    Global Brokerage, Inc.                                                                   Case number (if known)
          Name



          Request for Relief, Declaration, and Signatures

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement in connection with a bankruptcy case can result in fines up to $500,000 or
           imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.

17. Declaration and signature
    of authorized                The debtor requests relief in accordance with the chapter of title 11, United States Code, specified in this petition.
    representative of debtor
                                 I have been authorized to file this petition on behalf of the debtor.

                                 I have examined the information in this petition and have a reasonable belief that the information is trued and correct.

                                 I declare under penalty of perjury that the foregoing is true and correct.

                                 Executed on      12/11/2017
                                                  MM / DD / YYYY


                             X   /s/ Kenneth Grossman                                                     Kenneth Grossman
                                 Signature of authorized representative of debtor                         Printed name

                                 Title    Chief Executive Officer




18. Signature of attorney    X   /s/ Arthur J. Steinberg                                                   Date 12/11/2017
                                 Signature of attorney for debtor                                               MM / DD / YYYY

                                 Arthur J. Steinberg
                                 Printed name

                                 King & Spalding LLP
                                 Firm name

                                 1185 Avenue of Americas
                                 New York, NY 10036
                                 Number, Street, City, State & ZIP Code


                                 Contact phone     212-556-2100                  Email address      asteinberg@kslaw.com

                                 1680495 (New York)
                                 Bar number and State




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Official Form 201A (12/15)
[If debtor is required to file periodic reports (e.g. forms 10K and 10Q) with the Securities and Exchange Commission pursuant to
Section 13 or 15(d) of the Securities Exchange Act of 1934 and is requesting relief under chapter 11 of the Bankruptcy Code, this
Exhibit "A" shall be completed and attached to the petition.]

                                                                United States Bankruptcy Court
                                                                     Southern District of New York
    In re    Global Brokerage, Inc.                                                                       Case No.
                                                                                  Debtor(s)               Chapter     11


                                     Attachment to Voluntary Petition for Non-Individuals Filing for
                                                    Bankruptcy under Chapter 11
1. If any of the debtor's securities are registered under Section 12 of the Securities Exchange Act of 1934, the SEC file number
   is 001-34986 .

2. The following financial data is the latest available information and refers to the debtor's condition on            October 31, 20171       .

 a. Total assets                                                                                     $                      78,787,046

 b. Total debts (including debts listed in 2.c., below)                                              $                     172,557,900

 c. Debt securities held by more than 500 holders:                                                                             Approximate
                                                                                                                                number of
                                                                                                                                 holders:

 secured                  unsecured                    subordinated                   $          172,500,000.00                          Unknown
 secured                  unsecured                    subordinated                   $                                                              0
 secured                  unsecured                    subordinated                   $                                                              0
 secured                  unsecured                    subordinated                   $                                                              0
 secured                  unsecured                    subordinated                   $                                                              0

 d. Number of shares of preferred stock                                                                         0                                    0

 e. Number of shares common stock                                                                        6,143,297                       Unknown
      Comments, if any:


3. Brief description of Debtor's business:
     Global Brokerage, Inc. is a holding company with an indirect effective ownership of FXCM Group, LLC through its equity
     interest in Global Brokerage Holdings, LLC

4. List the name of any person who directly or indirectly owns, controls, or holds, with power to vote, 5% or more of the voting
   securities of debtor:
     Franklin Resources, Inc.




1
    Total assets and total debts reflect the latest available, unaudited information and are based solely on the Debtor's book
          value.
Official Form 201A               Attachment to Voluntary Petition for Non-Individuals Filing for Bankruptcy under Chapter 11
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                   WRITTEN CONSENT IN LIEU OF A MEETING OF
                         THE BOARD OF DIRECTORS OF
                          GLOBAL BROKERAGE, INC.

                                      December 11, 2017

        The undersigned, being the board of directors (the “Board of Directors”), of Global
Brokerage, Inc., a Delaware corporation (the “Company”), hereby take the following actions and
adopt the following resolutions by unanimous written consent (this “Consent”), in lieu of a
special meeting of the Board of Directors, pursuant to the Amended and Restated By-Laws of
Global Brokerage, Inc. and the laws of Delaware:

        WHEREAS, the Board of Directors previously considered presentations by the
Company’s management (the “Management”) and financial and legal advisors (collectively, the
“Advisors”) regarding the liabilities and liquidity situation of the Company, the strategic
alternatives available to it, and the effect of the foregoing on the Company’s business;

        WHEREAS, in connection therewith, the Company negotiated a restructuring support
agreement (the “Restructuring Support Agreement”), by and among the Company, Global
Brokerage Holdings, LLC, FXCM Group, LLC, the Consenting Noteholders (as such term is
defined in the Restructuring Support Agreement), LUK-FX Holdings, LLC, in its capacity as a
member of FXCM Group, LLC and in its capacity as lender under the Leucadia Credit
Agreement (as such term is defined in the Restructuring Support Agreement) and Leucadia
National Corporation, as administrative agent under the Leucadia Credit Agreement (as such
term is defined in the Restructuring Support Agreement), pursuant to which the Company will
restructure its obligations under the Existing GLBR Notes (as such term is defined in the
Restructuring Support Agreement) on the terms set forth in the Restructuring Support
Agreement;

        WHEREAS, the Board of Directors previously approved the Restructuring Support
Agreement and authorized and directed any officer of the Company (each, an “Authorized
Officer” and collectively, the “Authorized Officers”) to prepare and finalize for distribution to
the beneficial holders or investment advisor to the beneficial holders of notes issued by the
Company pursuant to that certain Indenture, dated as of June 3, 2013, among the Company, as
issuer, and The Bank of New York Mellon, as trustee, a disclosure statement (the “Disclosure
Statement”) soliciting acceptances (the “Solicitation”) of a prepackaged chapter 11 plan of
reorganization (the “Prepackaged Plan”), substantially in the form presented to the Board of
Directors, with such changes as the Authorized Officers shall deem reasonably necessary and
appropriate, any amendment or supplement thereto, in the form as any such Authorized Officer
shall approve, such approval to be conclusively evidenced by the distribution of each such
Disclosure Statement, or amendment or supplement thereto;

       WHEREAS, the Solicitation has concluded with 100% of the votes received from holders
of Class 3 Claims, the only class entitled to vote, voting to accept the Prepackaged Plan; and



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        WHEREAS, the Board of Directors discussed the foregoing with the Management and
the Advisors and has determined, in the judgment of the Board of Directors, that it is in the best
interests of the Company, its shareholders, its creditors, and other parties in interest for the
Company to file a voluntary petition for relief under the provisions of chapter 11 of title 11 of the
United States Code (the “Bankruptcy Code”).

Chapter 11 Case

       NOW, THEREFORE, BE IT RESOLVED, that the Company be, and hereby is,
authorized and empowered to file a voluntary petition for relief under chapter 11 of the
Bankruptcy Code (the case commenced as a result of such voluntary petition, the “Chapter 11
Case”) in a court of proper jurisdiction (the “Bankruptcy Court”);

        RESOLVED FURTHER, that any Authorized Officer be, and each of them individually
hereby is, authorized, in the name and on behalf of the Company, appointed as the Company’s
authorized representatives, and in such capacity, acting alone or together, with power of
delegation, be, and they hereby are, authorized and empowered to execute and file on behalf of
the Company, including in the Company’s capacity as shareholder or member of its subsidiaries,
all petitions, schedules, lists, applications, pleadings and other motions, papers, agreements,
consents or documents, including, without limitation, the Prepackaged Plan, the Plan Supplement
(as such term is defined in the Restructuring Support Agreement), and the Disclosure Statement,
and to take any and all action that they deem necessary or proper to obtain such relief under the
Bankruptcy Code, including, without limitation, any action necessary to maintain the ordinary
course operation of the Company’s business;

       RESOLVED FURTHER, that the Company be, and hereby is, authorized and empowered
to consummate the Prepackaged Plan, through the Chapter 11 Case;

Retention of Professionals

        RESOLVED FURTHER, that each Authorized Officer be, and they hereby are,
authorized and directed to employ the law firm of King & Spalding LLP with offices currently
located at 1180 Peachtree Street, N.E., Atlanta, Georgia 30309, and 1185 Avenue of the
Americas, New York, New York 10036, as counsel to represent and assist the Company in
carrying out and fulfilling its duties and obligations under the Bankruptcy Code, and to take any
and all actions to advance the Company’s rights and obligations, including filing any pleadings;
and in connection therewith, each of the Authorized Officers, with power of delegation, are
hereby authorized and directed to execute appropriate retention agreements, pay appropriate
retainers, and to cause to be filed an appropriate application for authority to retain the services of
King & Spalding LLP;

         RESOLVED FURTHER that each Authorized Officer be, and they hereby are,
authorized and directed to employ the firm of Perella Weinberg Partners (“PWP”) as financial
advisors and investment bankers to represent and assist the Company in carrying out and
fulfilling its duties and obligations under the Bankruptcy Code, and to take all actions to advance
the Company’s rights and obligations; and in connection therewith, each of the Authorized


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Officers, with power of delegation, are hereby authorized and directed to execute appropriate
retention agreements, pay appropriate retainers, and to cause to be filed appropriate applications
for authority to retain the services of PWP;

        RESOLVED FURTHER that each Authorized Officer be, and they hereby are,
authorized and directed to employ the firm of Prime Clerk LLC as solicitation, notice, and claims
agent to represent and assist the Company in carrying out and fulfilling its duties and obligations
in connection with solicitation of the Prepackaged Plan and under the Bankruptcy Code, and to
take any and all actions to advance the Company’s rights and obligations; and in connection
therewith, each of the Authorized Officers, with power of delegation, are hereby authorized and
directed to execute appropriate retention agreements, pay appropriate retainers, and to cause to
be filed appropriate applications for authority to retain the services of Prime Clerk LLC;

        RESOLVED FURTHER that each Authorized Officer be, and they hereby are,
authorized and directed to employ any other professionals to assist the Company in carrying out
its duties under the Bankruptcy Code, and to take any and all actions to advance the Company’s
rights and obligations; and in connection therewith, each of the Authorized Officers, with power
of delegation, are hereby authorized and directed to execute appropriate retention agreements,
pay appropriate retainers, and to cause to be filed appropriate applications for authority to retain
the services of any other professionals as necessary;

        RESOLVED FURTHER that each Authorized Officer be, and they hereby are, with
power of delegation, authorized, empowered and directed to execute and file all petitions,
schedules, motions, lists, applications, pleadings, and other papers and, in connection therewith,
to employ and retain all assistance by legal counsel, accountants, financial advisors, and other
professionals and to take and perform any and all further acts and deeds that each of the
Authorized Officers deem necessary, proper or desirable in connection with the Chapter 11 Case,
with a view to the successful prosecution of such case;

Further Actions

        RESOLVED FURTHER, that the Authorized Officers be, and each of them hereby is,
authorized and directed to do and perform, or cause to be done and performed, all such acts,
deeds and things, to pay any and all expenses, and to make, execute and deliver, or cause to be
made, executed and delivered, all such agreements, undertakings, documents, instruments or
certificates, including, without limitation, amendments to agreements and supplements to
indentures, in the name and on behalf of the Company or otherwise as any such officer may
deem necessary or appropriate to effectuate or carry out fully the purpose and intent of the
foregoing resolutions, including but not limited to the performance of the obligations of the
Company under any document referred to herein and the payment of fees of counsel; and

        RESOLVED FURTHER, that to the extent that any of the actions authorized by any of
the foregoing resolutions have been taken previously by any Authorized Officers or employees
of the Company on its behalf, such actions are hereby ratified, approved and confirmed in their
entirety.



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 Fill in this information to identify the case:
 Debtor name Global Brokerage, Inc.
 United States Bankruptcy Court for the: SOUTHERN DISTRICT OF NEW                                                                                     Check if this is an
                                                YORK
 Case number (if known):                                                                                                                              amended filing




Official Form 204
Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims and
Are Not Insiders                                                                           12/15

A list of creditors holding the 20 largest unsecured claims must be filed in a Chapter 11 or Chapter 9 case. Include claims which the
debtor disputes. Do not include claims by any person or entity who is an insider, as defined in 11 U.S.C. § 101(31). Also, do not
include claims by secured creditors, unless the unsecured claim resulting from inadequate collateral value places the creditor
among the holders of the 20 largest unsecured claims.

As of the filing of date hereof, the Debtor does not have twenty unsecured claims outstanding. Thus, the Debtor is providing the list
below which lists the only unsecured claims of which the Debtor is aware.

 Name of creditor and      Name, telephone number Nature of claim                        Indicate if claim   Amount of claim
 complete mailing address, and email address of   (for example, trade                     is contingent,     If the claim is fully unsecured, fill in only unsecured claim amount. If
 including zip code        creditor contact       debts, bank loans,                     unliquidated, or    claim is partially secured, fill in total claim amount and deduction for
                                                  professional services,                     disputed        value of collateral or setoff to calculate unsecured claim.
                                                  and government                                             Total claim, if            Deduction for value        Unsecured claim
                                                  contracts)                                                 partially secured          of collateral or setoff
 THE BANK OF NEW                 101 Barclay Street,            Debt                                                                                              $172,500,000.00
 YORK MELLON, AS                 Floor 7W                                                                                                                         plus accrued and
 INDENTURE                       New York, NY 10286                                                                                                                 unpaid interest
 TRUSTEE                         Attn: Corporate Trust                                                                                                            as of the petition
                                 Administration                                                                                                                                date
 ERNST & YOUNG                   David Stollow                  Trade Debt              Liquidated                                                                         $30,000
                                 Ernst & Young
                                 5 Times Square
                                 New York, NY 10036
 MORRIS, NICHOLS,                Kenneth Nachbar                Trade Debt              Liquidated                                                                          $7,834.91
 ARSHT & TUNNELL                 1201 North Market
 LLP                             Street
                                 PO Box 1347
                                 Wilmington, DE
                                 19899
 D.F. KING & CO.,                DF King                        Trade Debt              Liquidated                                                                          $2,254.11
 INC.                            48 Wall Street
                                 New York, NY 10005
 S2 FILING, LLC                  S2 Filings                     Trade Debt              Liquidated                                                                            $395.00
                                 5670 Wilshire Blvd,
                                 Suite 1530
                                 Los Angeles, CA
                                 90036
 END OF DOCUMENT




Official form 204                                Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured claims                                 page 1

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 Fill in this information to identify the case:

 Debtor name         Global Brokerage, Inc.

 United States Bankruptcy Court for the:            SOUTHERN DISTRICT OF NEW YORK

 Case number (if known)
                                                                                                                                  Check if this is an
                                                                                                                                  amended filing



Official Form 202
Declaration Under Penalty of Perjury for Non-Individual Debtors                                                                                         12/15

An individual who is authorized to act on behalf of a non-individual debtor, such as a corporation or partnership, must sign and submit this
form for the schedules of assets and liabilities, any other document that requires a declaration that is not included in the document, and any
amendments of those documents. This form must state the individual’s position or relationship to the debtor, the identity of the document,
and the date. Bankruptcy Rules 1008 and 9011.

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property by fraud in
connection with a bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341,
1519, and 3571.



                Declaration and signature


       I am the president, another officer, or an authorized agent of the corporation; a member or an authorized agent of the partnership; or another
       individual serving as a representative of the debtor in this case.

       I have examined the information in the documents checked below and I have a reasonable belief that the information is true and correct:

                  Schedule A/B: Assets–Real and Personal Property (Official Form 206A/B)
                  Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)
                  Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)
                  Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G)
                  Schedule H: Codebtors (Official Form 206H)
                  Summary of Assets and Liabilities for Non-Individuals (Official Form 206Sum)
                  Amended Schedule
                  Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims and Are Not Insiders (Official Form 204)
                  Other document that requires a declaration

       I declare under penalty of perjury that the foregoing is true and correct.

        Executed on          December 11, 2017                       X /s/ Kenneth Grossman
                                                                       Signature of individual signing on behalf of debtor

                                                                       Kenneth Grossman
                                                                       Printed name

                                                                       Chief Executive Officer
                                                                       Position or relationship to debtor




Official Form 202                                             Declaration Under Penalty of Perjury for Non-Individual Debtors
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                                                               United States Bankruptcy Court
                                                                     Southern District of New York
 In re      Global Brokerage, Inc.                                                                   Case No.
                                                                                   Debtor(s)         Chapter     11




                                           CORPORATE OWNERSHIP STATEMENT (RULE 7007.1)

Pursuant to Federal Rule of Bankruptcy Procedure 7007.1 and to enable the Judges to evaluate possible disqualification or
recusal, the undersigned counsel for Global Brokerage, Inc. in the above captioned action, certifies that the following is
a (are) corporation(s), other than the debtor or a governmental unit, that directly or indirectly own(s) 10% or more of any
class of the corporation's(s') equity interests, or states that there are no entities to report under FRBP 7007.1:



    None [Check if applicable]




  12/11/2017                                                           /s/ Kenneth Grossman
 Date                                                                 Kenneth Grossman
                                                                      Chief Executive Officer




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 Fill in this information to identify the case:

 Debtor name         Global Brokerage, Inc.

 United States Bankruptcy Court for the:            SOUTHERN DISTRICT OF NEW YORK

 Case number (if known)
                                                                                                                                    Check if this is an
                                                                                                                                    amended filing



Official Form 202
Declaration Under Penalty of Perjury for Non-Individual Debtors                                                                                           12/15

An individual who is authorized to act on behalf of a non-individual debtor, such as a corporation or partnership, must sign and submit this
form for the schedules of assets and liabilities, any other document that requires a declaration that is not included in the document, and any
amendments of those documents. This form must state the individual’s position or relationship to the debtor, the identity of the document,
and the date. Bankruptcy Rules 1008 and 9011.

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property by fraud in
connection with a bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341,
1519, and 3571.



                Declaration and signature


       I am the president, another officer, or an authorized agent of the corporation; a member or an authorized agent of the partnership; or another
       individual serving as a representative of the debtor in this case.

       I have examined the information in the documents checked below and I have a reasonable belief that the information is true and correct:

                  Schedule A/B: Assets–Real and Personal Property (Official Form 206A/B)
                  Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)
                  Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)
                  Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G)
                  Schedule H: Codebtors (Official Form 206H)
                  Summary of Assets and Liabilities for Non-Individuals (Official Form 206Sum)
                  Amended Schedule
                  Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims and Are Not Insiders (Official Form 204)
                  Other document that requires a declaration     Corporate Ownership Statement

       I declare under penalty of perjury that the foregoing is true and correct.

        Executed on         12/11/2017                               X    /s/ Kenneth Grossman
                                                                         Signature of individual signing on behalf of debtor

                                                                         Kenneth Grossman
                                                                         Printed name

                                                                         Chief Executive Officer
                                                                         Position or relationship to debtor




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